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                                  United States Court of Appeals for the Second Circuit
                                          Thurgood Marshall U.S. Courthouse
                                                    40 Foley Square
                                                  New York, NY 10007

              DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
              CHIEF JUDGE                                                  CLERK OF COURT


              Date: November 27, 2023                                      DC Docket #: 1:19-cr-870-1
              Docket #: 23-7222                                            DC Court: S.D.N.Y. (NEW
              Short Title: United States of America v. Raji                YORK CITY)
                                                                           Trial Judge - Jesse M. Furman



                                      NOTICE OF RECORD ON APPEAL FILED

              In the above referenced case the document indicated below has been filed in the Court.

              ____ Record on Appeal - Certified List

              ____ Record on Appeal - CD ROM

              ____ Record on Appeal - Paper Documents

              _X__ Record on Appeal - Electronic Index

              ____ Record on Appeal - Paper Index

              Inquiries regarding this case may be directed to 212-857-8564.
